                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 PROGRESSIVE HAWAII                             )
 INSURANCE CORPORATION,                         )
                                                )
       Plaintiff,                               )
                                                )
 vs.                                            )
                                                ) Docket No. 3:12-cv-00574
 NAKIA DAVIS, ESTATE OF XAVIER                  )
 BINGHAM,                                       )
 RYAN WESTBROOK, ESTATE OF                      )
 JUSTIN WALKER,                                 )
 JAMES A. RUSSELL, ANGELIC                      )
 HODGE, GEICO INSURANCE CO.                     )
 and                                            )
 ALLSTATE INSURANCE COMPANY,                    )

       Defendants.

                    PROGRESSIVE HAWAII INSURANCE CORPORATION’S
                          MOTION FOR SUMMARY JUDGMENT

        Comes the plaintiff, Progressive Hawaii Insurance Corporation (hereinafter referred to as

 “Progressive”), by and through counsel, pursuant to Rule 56 of the Federal Rules of Civil

 Procedure, and moves this Honorable Court for entry of a Summary Judgment in its favor as to

 its Complaint for Declaratory Judgment filed herein, there being no genuine disputed issue of

 material fact that Progressive Hawaii Insurance Corporation owes no duty of defense or indemnify

 to Nakia Davis as the lessee of a 2012 red Nissan Maxima automobile or the driver of the 2012

 red Nissan Maxima, in regard to a motor vehicle accident on May 12, 2012.

        The motor vehicle accident is the subject of liability insurance coverage claims against a

 Tennessee Auto Insurance Policy issued by Progressive to defendant, Nakia Davis.




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        The motor vehicle accident is also the subject of a tort personal injury action filed in the

 Knox County Circuit Court under the style James A. Russell and Angelic Hodge vs. Nakia Davis

 and Xavier Bingham, Knox County Circuit Court, Docket No. 2-452-12.

          Progressive is entitled to summary judgment because the 2012 red Nissan Maxima was

 not an “insured vehicle” under the terms and conditions of the Tennessee Auto Policy, and no

 one in the vehicle was a permissive driver as defined by the terms and conditions of the policy.

        In support of its Motion, Progressive Hawaii Insurance Corporation attaches hereto and

 relies upon an Affidavit of Suzanne Hardy, Claims Adjuster for Progressive Hawaii Insurance

 Company, a Statement of Undisputed Material Facts, Brief in Support of Motion for Summary

 Judgment, and transcripts of the Examinations Under Oath of the Defendants Nakia B. Davis and

 the Xavier Bingham.

        WHEREFORE, Progressive Hawaii Insurance Corporation moves this Honorable Court

 for entry of a Summary Judgment in its favor as to its Complaint for Declaratory Judgment.

                                       Respectfully submitted,

                                       TRAMMELL, ADKINS & WARD, P.C.


                                       s/      Terrill L. Adkins
                                               Terrill L. Adkins, BPR #013138
                                               Attorney for Plaintiff
                                               P.O. Box 51450
                                               Knoxville, Tennessee 37950
                                               865/330-2577




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                                  CERTIFICATE OF SERVICE
                                                     
         I hereby certify that on June 4, 2013 a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent by operation of the court’s electronic filing
 system to all parties indicated on the electronic filing receipt. All other parties will be served by
 regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.
  
  
                                         TRAMMELL, ADKINS & WARD, P.C.

                                         s/ __ Terrill L. Adkins_________
                                               Terrill L. Adkins




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